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                     UNITED STATES DISTRICT COURT

                           DISTRICT OF HAWAII

UNITED STATES OF AMERICA,               CR. NO. 20-00068 LEK

                  Plaintiff,

      vs.

NICKIE MALI LUM DAVIS,

                  Defendant.


               ORDER DENYING DEFENDANT’S REQUEST FOR
       EVIDENTIARY HEARING, [FILED 10/28/22 (DKT. NO. 122)]

            On October 28, 2022, Defendant Nickie Mali Lum Davis

(“Defendant”) filed her request for an evidentiary hearing

regarding her Motion to Withdraw Guilty Plea and Memorandum of

Plea Agreement, previously filed on October 21, 2022 (“Motion”).

See Defendant’s Request for Evidentiary Hearing, filed 10/28/22

(dkt. no. 122) (“Request”); Motion, filed 10/21/22 (dkt.

no. 117).   She correctly acknowledges that “there is no right to

an evidentiary hearing[.]”      [Request at 2.]     She points out that

the Court initially questioned whether Defendant was asking for

an evidentiary ruling in deciding the Motion.          See Minute Order

- EO: Court Order Vacating the Sentencing Hearing and Setting a

Briefing Schedule for Defendant’s Motion to Withdraw Guilty Plea

and Memorandum of Plea Agreement, filed 10/24/22 (dkt. no. 121).

She states that she requests an evidentiary ruling to be made as

to the three grounds for which she brings the Motion because
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there exists “a dispute of fact . . . between the statement’s

[sic] set forth in her former counsel, Abbe Lowell’s

declaration, and the evidence submitted by [Defendant] . . . .”

[Request at 3.]

           Having reviewed the Motion and the opposing memorandum

filed by Plaintiff United States of America (“the Government”)

on November 7, 2022, [dkt. no. 124,] and the relevant case law,

the Court concludes that an evidentiary hearing is neither

required nor necessary.      The Court is inclined to presume, for

purposes of the Motion only: that a conflict of interest did

exist at the time that Defendant was advised regarding the

memorandum of plea agreement and her plea of guilty; and that

the conflict has not been waived.

           The Court notes that the standard applicable to a

motion to withdraw guilty plea is:

                A defendant may withdraw a plea of guilty
           before sentencing if “the defendant can show a
           fair and just reason for requesting the
           withdrawal.” Fed. R. Crim. P. 11(d)(2)(B).
           Although the defendant has the burden of
           demonstrating a fair and just reason, United
           States v. Davis, 428 F.3d 802, 805 (9th Cir.
           2005), the “fair and just” standard is applied
           liberally. United States v. Bonilla, 637 F.3d
           980, 983 (9th Cir. 2011). “Fair and just” reasons
           for withdrawal include inadequate Rule 11 plea
           colloquies, newly discovered evidence,
           intervening circumstances, or any other reason
           for withdrawing the plea that did not exist when
           the defendant entered his plea. [United States
           v.] McTiernan, 546 F.3d [1160,] 1167 [(9th Cir.
           2008)] (citing Davis, 428 F.3d at 805).

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             Erroneous or inadequate legal advice may also
             constitute a fair and just reason for withdrawal
             of a plea. Bonilla, 637 F.3d at 983 (citing
             McTiernan, 546 F.3d at 1167). A defendant who
             moves to withdraw a guilty plea “is not required
             to show that he would not have pled, but only
             that the proper legal advice of which he was
             deprived ‘could have at least plausibly motivated
             a reasonable person in [the defendant’s] position
             not to have pled guilty.’” Bonilla, 637 F.3d at
             983 (quoting United States v. Garcia, 401 F.3d
             1008, 1011–12 (9th Cir. 2005)).

United States v. Yamashiro, 788 F.3d 1231, 1236–37 (9th Cir.

2015) (some alterations in Yamashiro).        Here, where Defendant

contends that her counsel’s performance fell below the

reasonably acceptable standard, she must also show that, but for

the ineffective assistance of counsel, she would not have

entered a guilty plea and agreed to the memorandum of plea

agreement:

                  A challenge to a guilty plea based on a
             claim of ineffective assistance of counsel is
             analyzed using a two-part test: “a criminal
             defendant must show that his counsel’s
             performance was deficient, and that this
             deficient performance prejudiced his defense.”
             [Doganiere v. United States, 914 F.2d 165, 168
             (9th Cir. 1990).] Accord Johnson v. Baldwin, 114
             F.3d 835, 837–38 (9th Cir. 1997) (“In order to
             prevail on his claim of ineffective assistance of
             counsel, Albert must show (1) that his counsel’s
             performance, viewed objectively, was outside the
             wide range of professionally competent
             assistance, and (2) that there is a reasonable
             probability that, but for counsel’s
             unprofessional errors, the result of the
             proceeding would have been different”)
             (quotations omitted).



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                To show deficient performance, the defendant
           must show that the counsel’s representation fell
           below an objective standard of reasonableness.
           See United States v. Rubalcaba, 811 F.2d 491, 494
           (9th Cir.), cert. denied, 484 U.S. 832, 108 S.
           Ct. 107, 98 L. Ed. 2d 66 (1987). Ineffective
           assistance of counsel occurs when the behavior
           complained of falls below prevailing professional
           norms. United States v. McMullen, 98 F.3d 1155,
           1158 (9th Cir. 1996), cert. denied, 520 U.S.
           1269, 117 S. Ct. 2444, 138 L. Ed. 2d 203
           (1997). . . .

United States v. Modafferi, 112 F. Supp. 2d 1192, 1197–98 (D.

Hawai`i 2000).

           This matter is hereby scheduled for a non-evidentiary

hearing on December 9, 2022 at 1:30 p.m. by videotelephone

conference.    Counsel are directed to address the second prong of

the two-part test; specifically, whether Defendant has shown

that there is a reasonable probability that, but for the errors

she alleges as to her former counsel, Abbe Lowell, Esq., she

would not have agreed to the memorandum of plea agreement and

entered her plea of guilty.

           For the foregoing reasons, Defendant’s Request for

Evidentiary Hearing, [filed 10/28/22 (dkt. no. 122),] is DENIED.

           IT IS SO ORDERED.




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           DATED AT HONOLULU, HAWAII, November 10, 2022.




USA VS. NICKIE MALI LUM DAVIS; CR. 20-00068 LEK; ORDER DENYING
DEFENDANT’S REQUEST FOR EVIDENTIARY HEARING, [FILED 10/28/22
(DKT. NO. 122)]



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